          Case 3:13-cr-04510-JAH                       Document 1671                 Filed 12/22/16              PageID.9954               Page 1 of
                                                                                 4
                                                                                                                                   FILED
--     ""AO 245B (CASDl (Rev 4/14)
                  Sheet I
                                      Judgment in a Criminal Case
                                                                                                                                      DEC 222016
                                                                                                                              CLERK US DISTRICT COURT
                                                UNITED STATES DISTRICT COUR BY    SOUTHERN DISTRICT OF CALIFORNIA
                                                                                         MY'-J.-J         DEPUTY
                                                                  ,
                                                  SOUTHERN DISTRIC r OF CAUFORNIA

                        UNITED STATES OF AMERICA
                                                                                      JUDGMENT IN A CRIMINAL CASE
                                                                                      (For Offenses Committed On or After November I. 1987)
                                           v.
                                  Tony Brown -10                                      Case Number: I 3-cr-045 I O-JAH-l 0

                                                                                       John C Lemon
                                                                                       Defendant's Attorney

        REGISTRA nON 1\0. 15872408

       o
       oTHE DEFENDANT:
            pleaded guilty to count(s) ..:.._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~_ _

        ~ ~sfuundguil~onCounq~~I~s~)~s~J~s~A~s~~~s~~~----~-~-----_ _~_ _ _ _~_ _ _ _ _ _ _~
              after a plea of not guilty.                                       . .            ,"
              Accordingly, the defendant is adjudged guilty of such CQunt(s), whIch mvolve the tollowmg offcnse(s):
                                                                                                                                                Count
        Title & Section                         Nature of Offense                                                                              Number(s)

 18: 1962(d); 18:1963,                     Conspiracy to Conduct Enterprise Affairs Through A Pattern of                                        1

 1594(d) and 2428(a)                      Racketeering Activity
 18:2423(a); 18:2                         Transportation of a Minor to Engage in Criminal Activity                                              2
 18:1591(a) and (b); 18:2                  Sex Trafficking of Children or by Force, Fraud or Coercion                                           3,4,5




            The defendant is sentenced as provided in pages 2 through     4     of this judgment. The sentence is imposed pursuant

     o
     to the Sentencing Reform Act of 1984.
          The detendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     181 Count(S).;.re.;..m..;.a_i..;.ni;..n"'g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 181          areD dismissed on the motion of the United States.

     I8l Assessment; $100.00 waived as to each count.

     f8J No fine                                        o Forfeiture pursuant to order filed ----------------- , included herein.
           IT IS ORDERED that the detendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
     or mailing address until all fines, restitution. costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
     detendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                              13-cr-0451 O-JAH-l 0
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AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 imprisonment

                                                                                              Judgment   Page _ _2_ _ of      4
 DEFENDANT: Tony Brown -10
 CASE NUMBER: 13-cr-04510-JAH-IO
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Sixty-six months. concunent as to all counts




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    !81 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends custody be served in the State of Arizona.




    o    The defendant is remanded to the custody of the United States Marshal.

    o    The defendant shall surrender to the United States Marshal for this district:

           Oat                                    Da.m.      Dp·m.         on
               as notified by the United States MarshaL

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN
 I have executed this judgment as foJlows:

         Defendant delivered on                                                    to

 at __________________ , with a certified copy of this judgment.


                                                                                            UNlTED STATES MARSHAL

                                                                       By
                                                                                         DEPGTY U:-.IfTED STATES M"RSHAL




                                                                                                                  13-cr-04510-JAH-IO
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A0245B(CASD) (Rev. 4/14) Judgment in a Criminal Case
         Sheet 3  Supervised Release
                                                                                                               Judgment~Page    __3__ of _ _4..:..-_ _
DEFENDANT: Tony Brown -10                                                                              II
CASE NUMBER: 13-cr-04510-JAH-IO
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
three years concurrent as to all counts.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For ofJimses committed on or afier September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­
o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future sub stance abuse. (Check, if applicab Ie.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a D~A sample from the defendant. pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        Thc detendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 C.S.c. § 1690 I, et seq.) as directed
        hy the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student. or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          accep table reason s;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notity the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                    13-cr-045I O-J AH -10
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     AO     (Rev. 9/00) Judgment in a Criminal Case                                                Judgment--Page :lof 4
     Continued 2 - Supervised Release

     Defendant: BROWN, Tony
     CASE NUMBER: 13CR4S10-JAH-IO

                                            SPECIAL CONDITIONS OF SUPERVISION


1.   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

2.    Resolve all outstanding warrants within 60 days.

3. Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts, cell phones, any other
electronic communications or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
enforcement or probation officer with reasonable suspicion concerning a violation of a condition ofprobationlsupervised release or
unlawful conduct, and otherwise in the lawful discharge of the officer's duties. 18 V.S.c. §§ 3563 (b)(23); 3583 (d)(3). Failure to
submit to a search may be grounds for revocation; you shall warn any other residents that the premises may be subject to searches
pursuant to this condition.

4. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the
Internet without prior approval from the court or the probation officer. The offender shall consent to the installation of systems that
will enable the probation officer to monitor computer use on any computer owned or controlled by the offender. The offender shall pay
for the cost of installation of the computer software.

5. Shall not associate with any known member, prospect, or associate of the (Black MOB/Skanless), or any other gang, or club with a
history of criminal activity, unless given permission by the probation officer.

6. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third­
party communication, with the victim or victim '5 family, without prior approval of the probation officer.

7. Shall not loiter, or be present in locations known to be areas where gang members congregate, unless given permission by the
probation officer.

8. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a known gang,
unless given permission by the probation officer.

9. Not associate with known prostitutes or pimps and/or loiter in areas frequented by those engaged in prostitution.

10. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed
by the probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be
required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's
ability to pay.

11. Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence
report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.
